   Case 1:17-cr-00295-CMH Document 32 Filed 11/08/19 Page 1 of 5 PageID# 78


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                                                                                     HLUUVtU
                       IN THE UNITED STATES DISTRICT COURT FO ^-THE

                                 EASTERN DISTRICT OF VIRGINIA                      "- 8 2919
                                          Alexandria Division

  UNITED STATES OF AMERICA

            V.
                                                         No. l:17-CR-295-CMH

  ABDIRIZAK HAJIRAGHE WEHELIE,
         a/k/a "Haji Raghe,"

         Defendant.



                                      STATEMENT OF FAOTS

        The United States and the defendant, Abdirizak Haji Raghe Wehelie, a/k/a Haji Raghe,
agree that at trial, the United States would have proven the following facts beyond a reasonable
doubt with admissible and credible evidence:

        1.        On or about June 29,2016,in the Eastern District of Virginia, the defendant, in a
matter within the jurisdiction ofthe executive branch ofthe Government ofthe United States,
knowingly and willfully (1)falsified, concealed, and covered up by a trick, scheme,and device a
material fact; and(2) made a materially false, fictitious, and fi-audulent statement and
representation.

       2.        From approximately June 2012 through approximately May 2015, Wehelie was
employed by a government contractor and,in that capacity, was assigned to work as a linguist
and translator for the Federal Bureau ofInvestigation. As such, Wehelie would provide full or
partial translations ofaudio recordings captured on court-authorized surveillance of targets of
FBI investigations. In some cases, in place offull or partial translations ofthe recordings,
Wehehe would provide briefsummaries or notes ofthe audio recordings. These translations,
Case 1:17-cr-00295-CMH Document 32 Filed 11/08/19 Page 2 of 5 PageID# 79
Case 1:17-cr-00295-CMH Document 32 Filed 11/08/19 Page 3 of 5 PageID# 80
Case 1:17-cr-00295-CMH Document 32 Filed 11/08/19 Page 4 of 5 PageID# 81
Case 1:17-cr-00295-CMH Document 32 Filed 11/08/19 Page 5 of 5 PageID# 82
